963 F.2d 367
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.In Re:  Derek Dion CURTIS, I, Petitioner.
    No. 92-8031.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  May 18, 1992Decided:  May 29, 1992
    
      On Petition for Writ of Mandamus
      Derek Dion Curtis, I, Petitioner Pro Se.
      PETITION DENIED.
      Before WIDENER, HALL, and LUTTIG, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Derek Dion Curtis has filed a petition for a writ of mandamus in this Court to compel the district court to expedite its consideration of his petition for habeas corpus relief under 28 U.S.C. § 2255 (1988).  Because we find no delay in the court's consideration of his petition, we deny Curtis's petition for writ of mandamus.*
    
    
      2
      Mandamus is a drastic remedy to be used only in extraordinary circumstances.   Kerr v. United States Dist. Court, 426 U.S. 394, 402 (1976).  Courts are extremely reluctant to grant a writ of mandamus.   In re Ford Motor Co., 751 F.2d 274, 275 (8th Cir. 1984).  The party seeking mandamus relief carries the heavy burden of showing that he has "no other adequate means to attain the relief he desires" and that his right to such relief is "clear and indisputable."   Allied Chem.  Corp. v. Daiflon, Inc., 449 U.S. 33, 35 (1980).  Our review of the district court record discloses that there has been no unnecessary delay in considering Curtis's habeas corpus petition.  We therefore deny his petition for writ of mandamus.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    PETITION DENIED
    
      
        *
         We grant Curtis leave to proceed in forma pauperis in this Court
      
    
    